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EXHIBIT “C”
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: CHINESE-MANUFACTURED
DRYWALL PRODUCTS LIABILITY
LITIGATION

THIS DOCUMENT RELATES TO:
ALL CASES AND

Payton, et al. v. Knauf Gips, KG, et al.
Case No. 2:09-cv-07628 (E.D. La.)

Wiltz, et al. v. Beijing New Building Materials
Public Limited Co., et al.
Case No. 2:10-cv-00361 (E.D. La.)

Gross, et al. v. Knauf Gips, KG, et al.
Case No. 2:09-cv-06690 (E.D. La.)

Rogers, et al. v. Knauf Gips, KG, et al.
Case No. 2:10-cv-00362 (E.D. La.)

Amato, et al. v. Liberty Mutual Ins. Co., et al.
Case No. 2:10-cv-00932 (E.D. La.)

Hernandez, et al. vy. AAA Insurance, et al.
Case No. 2:10-cv-3070 (E.D. La.)

Abel, et al. v. Taishan Gypsum Co., Ltd., f/k/a
Shandong Taihe Dongxin Co., Ltd., et al.
Case No. 2:11-cv-00080 (E.D. La.)

Abreu, et al. vy. Gebrueder Knauf
Verwaltungsgesellschaft, KG, et al.
Case No. 2:11-cv-00252 (E.D. La.)

Haya, et al. v. Taishan Gypsum Co., Ltd.,
JS/k/a Shandong Taihe Dongxin Co., Ltd., et
al.

Case No. 2:11-cv-01077 (E.D. La.)

Vickers, et al. v. Knauf Gips KG, et al.
Case No. 2:09-cv-04117 (E.D. La.)

MDL NO. 2047

SECTION: L

JUDGE FALLON

MAG. JUDGE WILKINSON
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NOTICE OF PENDENCY AND PROPOSED
SETTLEMENT OF BANNER CLASS ACTION

TO THE CONDITIONAL SETTLEMENT CLASS, CONSISTING OF:

All persons or entities with claims, known and unknown, against the Settling Defendants arising
from, or otherwise related to, Chinese Drywall purchased from, supplied, distributed, marketed,
used, sold and/or delivered by Banner.

PLEASE READ THIS NOTICE CAREFULLY AND IN ITS ENTIRETY: YOU MAY BE
ENTITLED TO RECEIVE A PAYMENT FROM A FUND TO BE CREATED
PURSUANT TO THE PROPOSED SETTLEMENT DESCRIBED HEREIN IF YOU ARE
A MEMBER OF THE CONDITIONAL SETTLEMENT CLASS AND NOT A SETTLING
DEFENDANT.

The purpose of this Notice is to inform you that: (a) a class of which you may be a member has
been conditionally certified for consideration of a proposed settlement with Banner and its
Insurers; (b) a Stipulation and Agreement of Settlement (the “Settlement”), which provides for
the creation of a settlement fund (the “Settlement Funds”) and dismissal of all actions as to
Banner and its Insurers, was entered into on June 10, 2011, and submitted to the Court for its
approval; and (c) a hearing on the fairness, reasonableness, and adequacy of the proposed
settlement will be held on , 2011, in Courtroom C-456 of the United States
Courthouse, 500 Poydras Street, New Orleans, LA 70130.

Capitalized terms in this Notice have the same meaning as those defined in the Settlement.

Description of the Litigation

On June 15, 2009, the Judicial Panel on Multidistrict Litigation created MDL 2047 in order to
consolidate lawsuits brought in several federal district courts in the Gulf Coast and mid-Atlantic
regions of the United States by property owners whose homes or other properties were damaged
by Chinese Drywall. Plaintiffs sued the manufacturers of Chinese Drywall as well as
homebuilders, developers, installers, realtors, brokers, suppliers, importers, exporters, and
distributors that were involved with Chinese Drywall, and their insurers. Banner that did not
manufacture the defective drywall. Banner merely distributed it. Because Banner distributed
defective Chinese Drywall, complaints were filed against Banner Supply Co., Banner Supply Co.
Pompano, LLC, Banner Supply Co. Port St. Lucie, LLC, Banner Supply Co. Ft. Myers, LLC,
Banner Supply Co. Tampa, LLC, Banner Supply International, LLC, and any other entity insured
under the Banner Insurance Policies (collectively, “Banner’”), and Banner’s insurers, Chartis,’
FCCI,? Hanover,’ and Maryland Casualty‘ (collectively, the “Insurers”), as well as other

! “Chartis” includes Chartis Specialty Insurance Company (formerly known as “American
International Specialty Lines Insurance Company”), Illinois National Insurance Co., National
Union Fire Insurance Company of Pittsburgh, Pa., Commerce & Industry Insurance Co., and any
other sister entities or entities related to the foregoing or to American International Group, Inc.

2 “FCCT” includes FCCI Insurance Company, FCCI Commercial Insurance Company,
National Trust Insurance Company, FCCI Mutual Insurance Holding Company, FCCI Group,

(footnote continued)
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defendants, including companies responsible for manufacturing Chinese Drywall. The Litigation
seeks relief on behalf of a class of persons and entities with claims against all of these entities,
including Banner and its Insurers, arising out of Chinese Drywall.

The complaints make claims based on strict liability; violations of the Florida Deceptive and
Unfair Trade Practices Act (Fla. Stat. §501.203, et seq.), other state and federal consumer
protection laws, and laws against unfair trade practices; negligence; private and public nuisance;
tort; equity and medical monitoring; breach of contract; loss of use; loss of enjoyment; personal
injury and related statutory violations; bodily injury; indemnity; contribution; breach of express
or implied warranty; redhibition; negligence per se; violation of the Louisiana New Home
Warranty Act (La. R.S. 9:3141, et seq.), the Louisiana Products Liability Act (La. R.S.
9:28000.51, et seg.) and the Louisiana Unfair Trade Practices and Consumer Protection Law (La.
R.S. 51:1401, et seg.); negligent discharge of a corrosive substance; unjust enrichment; breach of
implied warranty of fitness and merchantability (Fla. Stat. § 718.203); breach of implied
warranty of habitability; negligent misrepresentation; building code violations (Fla. Stat. §
553.84); and relief by way of subrogation, contractual indemnity, common law indemnity, and/or
contribution against Banner.

Banner and its Insurers deny any wrongdoing whatsoever, and specifically deny having
committed any violation of any law, claiming that the manufacturers are ultimately responsible
for selling Banner products that they certified were safe and fit for use when in fact the products
were defective. Banner’s Insurers also deny coverage and liability for Banner’s conduct. Banner
and its Insurers likewise deny the existence of any class except for purposes of this Settlement,
assert certain affirmative defenses, and deny any liability to any member of the Conditional
Settlement Class.

The Court has not certified a class in the Litigation, other than conditionally for settlement
purposes (the “Conditional Settlement Class”), and has made no determination that any class
could be certified if the Litigation is not settled hereby. The Court has not determined the merits
of any claims or defenses in the Litigation. This Notice does not imply that there has been any
finding of any violation of the law by Banner or its Insurers that recovery could be had in any
amount.

Counsel for the Conditional Settlement Class (“Plaintiffs’ Class Counsel”) entered into the
Settlement after weighing the substantial benefits that the members of the Conditional Settlement
Class will receive as a result of the Settlement against the probabilities of success and failure in
securing any recovery from Banner or its Insurers by means of further litigation and delay.
Plaintiffs’ Class Counsel consider it to be in the best interests of the Conditional Settlement
Class that all of the above-captioned actions and all other claims be settled in accordance with

Inc., FCCI Insurance Group, Inc., Monroe Guaranty Insurance Company, FCCI Services, Inc.,
FCCI Advantage Insurance Company, Brierfield Insurance Company, and FCCI Agency, Inc.
3 “Hanover” includes Hanover American Insurance Company and Hanover Insurance

Group, Inc.
4 “Maryland Casualty” includes Maryland Casualty Company and all companies in the
Zurich North America group of insurance companies.
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the terms of the Settlement as to Banner and its Insurers and believe that the proposed Settlement
is fair, reasonable, and adequate for the Conditional Settlement Class.

Although Banner and its Insurers deny all liability and the existence of any class (other than for
settlement purposes) in the Litigation, Banner and its Insurers consider it desirable to settle the
Litigation on the terms proposed, to avoid further expense and inconvenience.

Summary of the Proposed Settlement

The Settlement is subject to, and becomes effective only upon, final approval by the United
States District Court for the Eastern District of Louisiana (the “Court”), the Honorable Eldon E.
Fallon presiding. Set forth below is a summary of the principal terms and conditions of the
Settlement. The complete Settlement is on file with the Court; posted in the Clerk’s offices at
the United States District Courthouse for the Eastern District of Louisiana, Florida courts, and
the 34th Judicial District Court, Parish of St. Bernard; published on the District Court’s Chinese
Drywall MDL website at http://www. laed.uscourts.gov/Drywall/Drywall.htm, the CPSC website,
and the Florida Department of Health website; and available for your inspection as described
below.

The Settlement provides for the contribution by Banner’s Insurers, following final approval by
the Court, of Settlement Funds in the aggregate amount of $54,475,558.30, representing all of
the remaining insurance proceeds available to Banner, in full settlement of all claims of the Class
Members against Banner or its Insurers arising from or otherwise related to Chinese Drywall
purchased from, supplied, distributed, marketed, used, sold and/or delivered by Banner. For
purposes of the Settlement, Chinese Drywall is defined as:

any and all drywall products purchased from, supplied, distributed, marketed, used, sold
and/or delivered by Banner alleged to be defective and manufactured, in whole or in part,
in China, or that include components manufactured, in whole or in part, in China,
including, but not limited to, drywall manufactured by Knauf Gips KG; Knauf
Plasterboard (Tianjin) Co., Ltd.; Knauf Plasterboard (Wuhu), Co., Ltd.; Gebrueder Knauf
Verwaltungsgesellschaft, KG; Guangdong Knauf New Building Materials Products Co.,
Ltd.; Beijing New Building Materials Public Ltd. Co.; Taishan Gypsum Co., Ltd. f/k/a/
Shandong Taihe Dongxin Co., Ltd.; Taian Taishan Plasterboard Co., Ltd.; Pingyi
Zhongxin Paper-Faced Plasterboard Co., Ltd. f/k/a Shandong Chenxiang Building
Materials Co., Ltd.; Crescent City Gypsum, Inc.; and any other manufacturer of Chinese

drywall.

In summary, Settlement Funds will be allocated to pay for and/or reimburse Class Members for
the costs of remediating Affected Properties and other damages. Following approval of the
Settlement, the Court will determine a fair and equitable allocation of Settlement Funds, and
Class Members will have an opportunity to comment on or object thereto. Parties that have
intervened in the Litigation will also have standing to comment on allocation and an opportunity
to participate in the allocation process. If the Court finally approves the Settlement, Proof of
Claim forms will be mailed to Class Members and parties that have intervened who have not
opted out of the Class. All Class Members who receive in excess of the MMSEA dollar
threshold in effect at the time the Settlement is Final must provide the Insurers with their full
name, date of birth, social security number, and gender, as well as any other information
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necessary for the Insurers to comply with their reporting obligations under the Medicare,
Medicaid & SCHIP Extension Act of 2007.

The Settlement provides that the Plaintiffs’ Steering Committee (“PSC”) appointed by the Court,
common benefit attorneys, and private counsel for Class Members may petition the Court for an
award of attorneys’ fees constituting, in the aggregate, no more than 32% of the Settlement
Funds, plus reimbursement of reasonable expenses, including the costs of Notice. The Court will
determine the allocation of any fees awarded. In addition, the petitioning attorneys are permitted
to seek a fee of 10% from those entities who recover from the Settlement Funds and are not
represented by the PSC, have private counsel, and have actively pursued this Litigation.
Application to the Court will subsequently be made for the fees and costs incurred in the
administration of the Settlement Funds. Such costs, expenses, and attorneys’ and administration
fees as the Court may award shall be paid out of the Settlement Funds. Banner and its Insurers
will not be responsible for any payments beyond their initial contribution to the Settlement
Funds.

Conditional Class Certification

Pursuant to Rule 23 of the Federal Rules of Civil Procedure and an Order of the Court, dated

, 2011, the Court has preliminarily approved the terms of the Settlement to the extent that
this Notice is being sent to the Conditional Settlement Class, which has been determined by such
Order to exist for settlement purposes only. The Conditional Settlement Class shall consist of:

All persons or entities with claims, known or unknown, against the Settling Defendants
arising from, or otherwise related to, Chinese Drywall purchased from, supplied,
distributed, marketed, used, sold and/or delivered by Banner.

The Court has not certified a class in the Litigation for any other purpose and has made no
determination that any class could be certified if these litigations are not settled hereby.
Although the Court has indicated such preliminary approval of the Settlement, this Notice is not
an expression of any opinion by the Court as to the merits of the claims and defenses which have
been asserted in the Litigation. If the Settlement is not finally approved, the conditional
certification of the Conditional Settlement Class will be null and void, and the Litigation will
proceed as if there had been no settlement, conditional certification, or notice.

Opt Out Process

Class Members may opt out of the Class. If you elect to opt out, you will be excluded from
sharing in the benefits of this Settlement and from the binding effect of final approval of this
Settlement and dismissal of the Litigation as to Banner and the Settling Defendants.

IF YOU DO NOT WISH TO OPT OUT, YOU DO NOT HAVE TO DO ANYTHING AT
THIS TIME.

To opt out, a written notice signed by the individual Class Member must be sent by first-class
mail, post-marked on or before , 2011, to Lead Counsel, Arnold Levin, Levin,
Fishbein, Sedran & Berman, 510 Walnut Street, Suite 500, Philadelphia, PA 19106, counsel for
all Banner entities except Banner PSL, Todd R. Ehrenreich, Weinberg Wheeler Hudgins Gunn &
Dial, 2601 South Bayshore Drive, Suite 1500, Miami, FL 33133, and counsel for all Banner

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entities, Michael P. Peterson, Peterson & Espino, P.A., 10631 S.W. 88th Street, Suite 220,
Miami, FL 33186, who shall be obliged to file the opt out notice with the Court. The notice must
set forth the full name and current address of the person electing to opt out and a sentence
stating: “The undersigned hereby opts out of the Banner Settlement Class in the Chinese Drywall
Action.”

IF YOU WISH TO PURSUE AN INDIVIDUAL CLAIM AGAINST BANNER OR ITS
INSURERS BY LITIGATION, ARBITRATION, OR OTHERWISE, YOU MUST OPT
OUT; OTHERWISE, IF THE SETTLEMENT IS APPROVED, YOU WILL NOT BE
ABLE TO PURSUE CLAIMS AGAINST BANNER OR ITS INSURERS ARISING OUT
OF, IN ANY MANNER RELATED TO, OR CONNECTED IN ANY WAY WITH
CHINESE DRYWALL.

Persons who opt out will not be entitled to share in the benefits of this Settlement nor will they
benefit or be bound by further orders or judgments in the Litigation concerning the Settlement, if
any. Banner and its Insurers have reserved the right to terminate or withdraw from the
Settlement in the event any Class Member opts out.

Settlement Hearing

Notice is further hereby given that, pursuant to the Court’s Order, a hearing will be held in
Courtroom C-456 of the United States Courthouse, 500 Poydras Street, New Orleans, LA 70130,
at _.m., on , 2011 (the “Fairness Hearing”), for the purpose of determining
whether the Settlement is fair, reasonable, and adequate and should be approved finally by the
Court and the Litigation dismissed on the merits and with prejudice as to Banner and its Insurers.
The Fairness Hearing may be adjourned from time to time by the Court without further notice.

CONDITIONAL SETTLEMENT CLASS MEMBERS WHO DO NOT OPPOSE THE
PROPOSED SETTLEMENT DO NOT NEED TO APPEAR AT THE HEARING OR
FILE ANY PAPERS.

You will be represented at the Fairness Hearing by Plaintiffs’ Class Counsel, Russ Herman,
telephone no. (504) 581-4892, Arnold Levin, telephone no. (215) 592-1500, and Ervin Gonzalez,
telephone no. (305) 476-7400, unless you enter an appearance in person or through your own
counsel. As a member of the Conditional Settlement Class, you will not be personally
responsible for attorneys’ fees, costs or disbursements except those of your own counsel.

Class Members may object to the Settlement, in whole or in part, by providing written notice of
their intention to object, setting forth the reasons for such objections and, if applicable, the Class
Member’s intention to appear at the Fairness Hearing, in accordance with the following
procedure. The objection must be signed by the Class Member and his or her counsel, if any.
The objection must contain the caption of the Litigation and include the name, mailing address,
e-mail address, if any (an e-mail address is not required), and telephone number of the Class
Member.

At the Fairness Hearing, any Class Member who has provided written notice of the intention to
object to the Settlement may appear in person or by counsel and show cause why the Settlement
should not be approved and why this action should not be dismissed on the merits with prejudice.
Such Class Member may present any admissible evidence relevant to the issues to be heard,
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provided that such Class Member has timely provided any and all papers in opposition to the
Settlement upon which the objection may be based. The objection must identify any witnesses
intended to be called, the subject area of the witnesses’ testimony, and all documents to be used
or offered into evidence at the Fairness Hearing.

Any intention to object, all related materials, and any admissible evidence sought to be presented
at the Fairness Hearing must be mailed and post-marked by , 2011, to Lead Counsel,
Arnold Levin, Levin, Fishbein, Sedran & Berman, 510 Walnut Street, Suite 500, Philadelphia,
PA 19106, counsel for all Banner entities except Banner PSL, Todd R. Ehrenreich, Weinberg
Wheeler Hudgins Gunn & Dial, 2601 South Bayshore Drive, Suite 1500, Miami, FL 33133, and
counsel for all Banner entities, Michael P. Peterson, Peterson & Espino, P.A., 10631 S.W. 88th
Street, Suite 220, Miami, FL 33186, who shall be obliged to file the objection, along with any
submitted materials or evidence, with the Court.

Any Class Member who does not so object to the matters noted above shall be deemed to have
waived, and shall be forever foreclosed from raising, any objection to such matters.

Effect of Final Court Approval

If the Settlement is approved, the Court will enter an Order and Judgment dismissing the
Litigation on the merits with prejudice as to Banner and its Insurers and discharging Banner and
its Insurers from all claims which were, or could have been, asserted by you or on your behalf
arising from, concerning, or related to Chinese Drywall.

IF YOU ARE A MEMBER OF THE CLASS, UNLESS YOU HAVE CHOSEN
AFFIRMATIVELY TO OPT OUT OF THE CLASS, UPON COURT APPROVAL OF
THE SETTLEMENT YOU WILL BE BOUND BY THE SETTLEMENT, INCLUDING
THE JUDGMENT OF DISMISSAL.

If the Court approves the Settlement, each Class Member who did not opt out of the Conditional
Settlement Class will receive a Court Notice with final instructions and a Proof of Claim form in
the mail.

Examination of Papers

The foregoing is only a summary of the Litigation, the claims, and the Settlement. The
Settlement and documents incorporated therein, as well as the pleadings and other papers filed in
the Litigation, may be inspected at the office of the Clerk of the Court, United States Courthouse,
Room C-151, 500 Poydras Street, New Orleans, LA 70130, or during regular business hours at
the offices of Class Counsel, Ervin Gonzalez, Colson Hicks Eidson, 255 Alhambra Circle,
Penthouse, Coral Gables, FL 33134, commencing on , 2011. Any papers
Class Counsel and counsel for Banner and its Insurers shall file in support of the Settlement will
be made available for inspection at these locations at the time they are filed. Any questions that
any person to whom this Notice is addressed may have with respect thereto or with respect to the
right to opt out should be directed to Class Counsel, or his or her own counsel.

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Schedule of Important Dates

Beginning , 2011

On or before , 2011

On or before , 2011
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Dated: New Orleans, Louisiana
, 2011

/s/ ELDON E. FALLON
Judge, United States District Court
for the Eastern District of Louisiana

Settlement papers may be examined at the
offices of Class Counsel Ervin Gonzalez

Notice of Opt Out of the Settlement Class must
be mailed to Arnold Levin, Todd R.
Ehrenreich, and Michael P. Peterson

Objections to the Settlement must be mailed to
Amold Levin, Todd R. Ehrenreich, and
Michael P. Peterson

Fairness Hearing at United States Courthouse
for the Eastern District of Louisiana, 500
Poydras Street, Room C-456, New Orleans,
LA 70130
